                   THE THIRTEENTH COURT OF APPEALS

                                    13-15-00611-CR


                                  The State of Texas
                                          v.
                                Kenneth Lee Cooley Jr.


                                   On appeal from the
                     377th District Court of Victoria County, Texas
                           Trial Cause No. 15-10-28984-D


                                      JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be reversed and the cause

remanded to the trial court. The Court orders the judgment of the trial court

REVERSED and REMANDED for further proceedings in accordance with its opinion.

      We further order this decision certified below for observance.

September 1, 2016
